      Case 2:15-cr-00144-SMJ    ECF No. 520    filed 08/01/16   PageID.2000 Page 1 of 2




1                                                                             FILED IN THE
                                                                          U.S. DISTRICT COURT
                                                                    EASTERN DISTRICT OF WASHINGTON

2
                                                                    Aug 01, 2016
3                        UNITED STATES DISTRICT COURT                    SEAN F. MCAVOY, CLERK


                        EASTERN DISTRICT OF WASHINGTON
4
     UNITED STATES OF AMERICA,                  No. 2:15-CR-0144-SMJ-15
5
                               Plaintiff,
6                                               ORDER GRANTING
                  v.                            DEFENDANT’S MOTION TO
7                                               MODIFY ORDER SETTING
     NICHOLE M. GOURNEAU,                       CONDITIONS OF RELEASE
8
                               Defendant.
9

10         Before the Court, without oral argument, is Defendant Nichole M.

11   Gourneau Motion to Modify Order Setting Conditions of Release, ECF No. 511.

12   Defendant Gourneau and her children are active members of the Kalispel Tribe.

13   The tribe often holds pow-wows, canoe trips, and other tribal events in Idaho, and

14   outside of Eastern Washington. Defendant Gourneau requests that the Court

15   amend her release conditions, to allow Defendant to travel outside of the Eastern

16   District of Washington for all tribal events, at the discretion of the United States

17   Probation. U.S. Probation officer, Eric Carlson has no objection to this request.

18   USAO’s, Allyson Edwards has no objection to this request. Having reviewed the

19   pleadings and the file in this matter, the Court is fully informed and GRANTS the

20   motion.




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2               Accordingly, IT IS HEREBY ORDERED:

3               1.          Defendant Nichole M. Gourneau Motion to Modify Order Setting

4                           Conditions of Release, ECF No. 511, is GRANTED.

5               2.          Defendant shall remain released on the conditions of release set forth

6                           in this Court’s Order filed January 13, 2016, ECF No. 106 and

7                           additional conditions of release filed January 20, 2016, ECF No. 159.

8               3.          In addition, defendant shall be allowed to attend tribal events outside

9                           of the Eastern District of Washington, at the discretion of United

10                          States Probation.

11              IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order

12   and provide copies to all counsel.

13              DATED this 1st day of August 2016.

14
                                       __________________________
15                                     SALVADOR MENDOZA, JR.
                                       United States District Judge
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     ORDER - 2
